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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION



 LISA RUBEN, an individual,                                 CIVIL ACTION

                       Plaintiff,
                                                            Case No. 2:19-cv-394
 v.
                                                            Judge:
 BONITA DENTAL CARE, P.A., a Florida
 professional association, and DR. FREDERICK                Mag. Judge:
 ECK, an individual,

                       Defendants.



                        COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COMES the Plaintiff, LISA RUBEN (“Ruben” or “Plaintiff”), by and through

undersigned counsel, and states the following for her Complaint:

                                     CAUSES OF ACTION

       1.     This is an action brought under the federal Fair Labor Standards Act ("FLSA"),

Florida Whistleblower Act (FWA), F.S. §440.205 and Florida common law for (1) unpaid

minimum wage and retaliation in violation of the FLSA, (2) retaliation in violation of the FWA,

(3) retaliation in violation of F.S. §440.205, and (4) unpaid wages under Florida common law.

                                          PARTIES

       2.     Plaintiff, LISA RUBEN (“RUBEN” or “Plaintiff”) is an individual and a resident

of Florida who at all material times worked in Lee County, Florida and was employed by the

Defendants.

       3.     Defendant, BONITA DENTAL CARE, P.A. (“PRACTICE”), is a Florida

professional association and is a covered employer under the FLSA (29 U.S.C. §203(d), (r) and

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(s)). PRACTICE consists of several professional dental offices and has gross annual sales well in

excess of $500,000.00 per year and is engaged in interstate commerce. PRACTICE’s employees

are engaged in interstate commerce and their business model specifically caters to persons

traveling interstate. PRACTICE collects monies all kinds of insurance, most of which is from

out-of-state sources, including the receipt of federal monies from Medicare reimbursement.

PRACTICE has the authority to hire, fire, assign work, withhold work and affect the terms and

conditions of persons like RUBEN. PRACTICE supervised and controlled RUBEN’s work

schedules and conditions of employment, in addition to determining the rate and method of

payment for RUBEN. PRACTICE maintains employment records of RUBEN. PRACTICE was

the employer of RUBEN.

         4.      The Defendant, DR. FREDERICK ECK (“ECK”) is an individual and is a

covered employer under the FLSA (29 U.S.C. §203(d), (r) and (s)). ECK had the authority to hire,

fire, assign work, withhold work and affect the terms and conditions of persons like RUBEN.

ECK supervised and controlled RUBEN’s work schedules and conditions of employment, in

addition to determining the rate and method of payment for RUBEN. ECK maintains employment

records of RUBEN. ECK was the employer of RUBEN.1

         5.      At all times relevant to the instant action, the Defendant PRACTICE was

RUBEN’s employer within the meaning of the FWA, F.S. §440.205 and under Florida common

law.

                                   JURISDICTION AND VENUE

         6.      This Court has jurisdiction of this matter under 28 U.S.C. §1331.




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         PRACTICE and ECK are referred to herein as “Defendants.”

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        7.     This Court has supplemental jurisdiction over RUBEN’s state law claims pursuant

to 28 U.S.C. § 1367.

        8.     Venue is proper in the United States District Court for the Middle District of Florida

because the Plaintiff worked in, and the Defendant conducts business in, and some or all of the

events giving rise to Plaintiff’s claims occurred in Lee County, Florida, which is within the Middle

District of Florida. Venue is proper in the Fort Myers Division under Local Rule 1.02(b)(5) since

Lee County is within the Fort Myers Division.

                                  GENERAL ALLEGATIONS

        9.     RUBEN was hired by the Defendants on February 1, 2019 as the office manager.

        10.    RUBEN always performed her assigned duties in a professional manner and was

very well qualified for her position.

        11.    RUBEN’s supervisors were John Elliott, Diana Ibrahim and ultimately ECK.

        12.    Upon beginning her employment with the Defendants, RUBEN received reports

that Defendants’ employees were not being paid their lawful overtime.

        13.    For example, on February 7, 2019, RUBEN received a report that employees were

being told to work their scheduled shifts, clock out and then continue working off-the-clock and

without overtime compensation.

        14.    RUBEN promptly voiced her objections to Defendants illegal practices, stating she

would take no part in them and that the employees were to be paid their lawful overtime.

        15.    Furthermore, RUBEN learned that the Defendants had a policy and practice to

violate Florida’s Deceptive and Unfair Trade Practices Act (FDUTPA) by fraudulently obtaining

financing for dental work by submitting the application for the same in a non-consenting party’s

name.



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       16.     RUBEN also learned that the Defendants had a policy and practice to further violate

FDUTPA by swindling patients in a fraudulent insurance scheme whereby the Defendants billed

patients the full price of the dental work notwithstanding that an insurance claim was submitted

and paid by an insurance company. In furtherance of this scheme, the Defendants represent to the

patient that they will refund the patient the amount the Defendants receive from the insurance

company – but the Defendants either never do so or refund only a portion of the monies they

receive from the insurance company.

       17.     Additionally, on February 13, 2019, RUBEN suffered, and promptly reported, a

workplace injury she suffered after being order to “move those f***ing boxes” that were in the

Defendants’ office.

       18.     Immediately after such objections, and after suffering and reporting her workplace

injury, the Defendant began to subject RUBEN to adverse employment action, the Defendants

having suddenly informed her that she was “not a good fit.”

       19.     RUBEN was also required by the Defendants to work without any compensation

for her last week of employment.

       20.     At no time during RUBEN’s employment did the Defendant ever inform her that

she exhibited poor performance, was the subject of an investigation or that there was any

allegations of wrongdoing by her whatsoever.

       21.     RUBEN’s termination was not part of a reduction in force.

       22.     There was no budgetary need to terminate RUBEN.

       23.     RUBEN was not subject to any discipline whatsoever prior to her engagement in

protected activity.




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       24.      RUBEN always received positive performance reviews from the Defendants until

she engaged in protected activity.

       25.      As a direct and proximate result of her objection to the Defendant’s illegal practices

and refusal to participate in them, RUBEN was terminated by the Defendants.

 COUNT I: VIOLATION OF THE FLSA- UNPAID MINIMUM WAGE- PRACTICE &
                        ECK (“DEFENDANTS”)

             26. The Plaintiff hereby incorporates Paragraphs 1-4, 6, 8-11 and 19 in this Count as

though fully set forth herein.

       27.      The Defendants were required by the FLSA to pay RUBEN at least minimum wage

for all hours worked by RUBEN.

       28.      The Defendants had operational control over all aspects of RUBEN’s day-to-day

functions during her employment, including compensation.

       29.      The Defendants were RUBEN’s "employer" and is liable for violations of the

FLSA in this case.

       30.      The Defendants violated the FLSA by failing to pay RUBEN at least minimum

wage for all hours worked each week.

       31.      As a result of the foregoing, RUBEN has suffered damages of lost wages.

       32.      The Defendants are the proximate cause of RUBEN’s damages.

       WHEREFORE, the Plaintiff prays that this Honorable Court enter a Judgment in her favor

and against both Defendants for an amount consistent with evidence, together with liquidated

damages, the costs of litigation, interest, and reasonable attorneys’ fees.

       COUNT II – FLSA RETALIATION- PRACTICE & ECK (“DEFENDANTS”)

       33.      Plaintiff incorporates by reference Paragraphs 1-4, 6, 8-14, 18 20-25 of this

Complaint as though fully set forth below.

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          34.    At all material times, RUBEN was an employee and the Defendants were her

employer.

          35.    RUBEN believed in good faith, and a reasonable employee in the same or similar

circumstances would also believe, that the Defendants were violating the FLSA.

          36.    The Defendants were aware of RUBEN’s objection and refusal to participate in the

Defendants’ violations of the FLSA.

          37.    Less than a week later, the Defendants subjected RUBEN to adverse employment

action.

          38.    The Defendant, in subjecting RUBEN to adverse employment action, retaliated and

discriminated against her because of complaints, objections and concerns raised by her to the

Defendants.

          39.    As a direct and proximate result of engaging in statutorily protected conduct as

referenced and cited herein, RUBEN has lost the benefits and privileges of her employment and

has been substantially and significantly injured in her career path that was anticipated from her

employment.

          40.    As a direct and proximate result of engaging in statutorily protected conduct as

referenced and cited herein, and as a direct and proximate result of the prohibited acts perpetrated

against them, RUBEN is entitled to all relief necessary to make her whole.

          WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, and:

          i.     Injunctive relief directing this Defendants to cease and desist from all retaliation

                 against employees who engage in speech protected by the FLSA;

          ii.    Back pay and all other benefits, perquisites and other compensation for

                 employment which Plaintiff would have received had she maintained her position



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               with the Defendants, plus interest, including but not limited to lost salary and

               bonuses;

       iii.    Liquidated damages;

       iv.     Front pay, including raises, benefits, insurance costs, benefits costs, and retirement

               benefits;

       v.      Reimbursement of all expenses and financial losses Plaintiff has incurred as a result

               of the Defendants’ actions;

       vi.     Declaratory relief declaring the acts and practices of the Defendants to be in

               violation of the statutes cited above;

       vii.    Reasonable attorney's fees plus costs;

       viii.   Compensatory damages, and;

       ix.     Such other relief as this Court shall deem appropriate.

  COUNT III –VIOLATION OF FLORIDA STATUTE 448.102: FLORIDA’S PRIVATE
              WHISTLEBLOWER ACT- PRACTICE (“PRACTICE”)

       41.     Plaintiff incorporates by reference Paragraphs 1-3. 5, 7-18 and 20-25 of this

Complaint as though fully set forth below.

       42.     RUBEN was an employee of Defendant PRACTICE, a private company.

       43.     At all material times, RUBEN was to be protected from negative employment

action by Florida Statute 448.102(1)-(3), commonly known as Florida’s “whistleblower statute,”

which in relevant part provides:

               “An employer may not take any retaliatory personnel action against an
               employee because the employee has:

               (1) Disclosed, or threatened to disclose, to any appropriate governmental
                   agency, under oath, in writing, an activity, policy, or practice of the
                   employer that is in violation of a law, rule, or regulation. However, this
                   subsection does not apply unless the employee has, in writing, brought

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                    the activity, policy, or practice to the attention of a supervisor or the
                    employer and has afforded the employer a reasonable opportunity to
                    correct the activity, policy, or practice;

                (2) Provided information to, or testified before, any appropriate
                    governmental agency, person, or entity conducting an investigation,
                    hearing, or inquiry into an alleged violation of a law, rule, or regulation
                    by the employer, and;

                (3) Objected to, or refused to participate in, any activity, policy, or practice
                    of the employer which is in violation of a law, rule, or regulation.”

          44.   RUBEN did engage in statutorily protected activity under F.S. §448 (1) and (3).

          45.   Immediately after engaging in statutorily protected activity, RUBEN suffered

negative employment action, which is a direct result of her statutorily protected activity.

          46.   RUBEN’s adverse employment action and her engaging in statutorily protected

activity are causally related.

          47.   PRACTICE knew that RUBEN was engaged in protected conduct as referenced

herein.

          48.   PRACTICE discharged, terminated, demoted, suspended, threatened, disciplined

and harassed RUBEN from her employment and after her employment, and otherwise retaliated

against her because of her protected conduct.

          49.   As a direct and proximate result of the violations of F.S. § 448.102, as referenced

and cited herein, RUBEN has lost all of the benefits and privileges of her employment and has

been substantially and significantly injured in her career path that was anticipated from her

employment.

          50.   As a direct and proximate result of the violations of F.S. §448.102, as referenced

and cited herein, and as a direct and proximate result of the prohibited acts perpetrated against her,

RUBEN is entitled to all relief necessary to make her whole.



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       51.     PRACTICE’s negative employment actions against RUBEN continued until her

termination and this count is timely filed.

       WHEREFORE, Plaintiff demands damages against PRACTICE for violation of

Florida’s Private Sector Whistle-blower’s Act (Section 448.102, Fla. Stat.), including but not

limited to all relief available under Section 448.103, Fla. Stat., such as:

       (a) an injunction restraining continued violation of this act,

       (b) reinstatement of the employee to the same position held before the retaliatory personnel

       action, or to an equivalent position,

       (c) reinstatement of full fringe benefits and seniority rights,

       (d) compensation for lost wages, benefits, and other remuneration,

       (e) any other compensatory damages allowable at law,

       (f) attorney’s fees, court costs and expenses, and

       (g) such other relief this Court deems just and proper.

 COUNT IV – UNLAWFUL RETALIATION AND WRONGFUL DISCHARGE UNDER
   F.S. § 440.205, WORKER’S COMPENSATION RETALIATION- (“PRACTICE”)

       52.     Plaintiff incorporates by reference Paragraphs 1-5, 7-11 and 19 of this Complaint

as though fully set forth below.

       53.     RUBEN was injured on the job and required medical treatment.

       54.     RUBEN promptly reported the worker’s compensation injury to the PRACTICE

and a worker’s compensation claim was to have been filed.

       55.     PRACTICE then terminated RUBEN as a direct result of the same.

       56.     Prior to her worker’s compensation injury, RUBEN had received consistently good

performance reviews and had not been subjected to discipline.




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        57.     RUBEN’s attempt to file of a worker’s compensation claim, workplace injury and

need for leave to have surgery/treatment for her workplace injury are the direct and proximate

causes of the PRACTICE’s termination of her employment.

        58.     As a direct and proximate result of the PRACTICE’s actions that violate Florida

Statute §440.205, RUBEN has suffered damages, including but not limited to, a loss of

employment opportunities, loss of past and future employment income and fringe benefits,

humiliation, and non-economic damages for physical injuries, mental and emotional distress.

        WHEREFORE, Plaintiff prays that this Honorable Court enter a Judgment in her favor

and against the PRACTICE for an amount consistent with evidence, together with back pay, front

pay, non-economic damages, the costs of litigation, interest, and reasonable attorneys’ fees.

                    COUNT V: COMMON LAW UNPAID WAGE CLAIM

        59.     The Plaintiff hereby incorporate Paragraphs 1-5 and 7-11 in this Count as though

fully set forth herein.

        60.     RUBEN was an employee of PRACTICE.

        61.     PRACTICE was required to compensate RUBEN at her regular rate of pay for all

hours worked by RUBEN.

        62.     PRACTICE had operational control over all aspects of the RUBEN’s day-to-day

functions during her employment, including compensation.

        63.     PRACTICE failed to pay RUBEN at least her regular rate of pay for all hours

worked.

        64.     PRACTICE has willfully violated Florida law by refusing to pay RUBEN her

regular rate of pay for all hours worked by her.

        65.     As a result of the foregoing, RUBEN has suffered damages of lost wages.



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       66.     PRACTICE is the proximate cause of RUBEN’s damages.

       WHEREFORE, Plaintiff pray that this Honorable Court enter a Judgment in her favor and

against the Defendant for an amount consistent with evidence, together with liquidated damages,

the costs of litigation, interest, and reasonable attorneys’ fees under F.S. §448.08.

                                         JURY DEMAND

       NOW COMES the Plaintiff and hereby request a trial by jury on all issues triable by jury.

                                       Respectfully submitted,


Dated: June 11, 2019                   s/ Benjamin H. Yormak
                                       Benjamin H. Yormak
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